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 5

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:13-CR-00219-LJO-SKO

12                                 Plaintiff,             STIPULATION AND ORDER BETWEEN THE
                                                          UNITED STATES AND DEFENDANT BRISA
13                          v.                            CELESTE CASTILLO

14   MAYRA ALEJANDRA SORIA,
     MATEO MANUEL SATIAGO,
15   ERIC ALBERTO HERRERA,
     BRISA CELESTE CASTILLO, and
16   ELISEE TORRES-PACHECO,

17                                 Defendants.

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19

20                                                STIPULATION

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22          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal

23 information including but not limited to Social Security numbers, dates of birth, financial account

24 numbers, telephone numbers, and residential addresses (“Protected Information”); and

25          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

26 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

27 proceedings in this matter;

28          The parties agree that entry of a stipulated protective order is appropriate.

      STIPULATION AND [PROPOSED]                          1
      ORDER
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 1           THEREFORE, defendant BRISA CELESTE CASTILLO, by and through her counsel of record

 2 Eric Kersten (“Defense Counsel”), and plaintiff the United States of America, by and through its counsel

 3 of record, hereby agree and stipulate as follows:

 4      1. This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of Criminal

 5           Procedure, and its general supervisory authority.

 6      2. This Order pertains to all discovery provided to or made available to Defense Counsel as part of

 7           the discovery in this case (hereafter, collectively known as the “discovery”).

 8      3. By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 9           documents that contain Protected Information with anyone other than Defense Counsel and

10           designated defense investigators and support staff. Defense Counsel may permit the defendant to

11           view unredacted documents in the presence of her attorney, defense investigators and support

12           staff. The parties agree that Defense Counsel, defense investigators, and support staff shall not

13           allow the defendant to copy Protected Information contained in the discovery. The parties agree

14           that Defense Counsel, defense investigators, and support staff may provide the defendant with

15           copies of documents from which Protected Information has been redacted.

16      4. The discovery and information therein may be used only in connection with the litigation of this

17           case and for no other purpose. The discovery is now and will forever remain the property of the

18           United States Government. Defense Counsel will return the discovery to the Government or

19           certify that it has been destroyed at the conclusion of the case.

20      5. Defense Counsel will store the discovery in a secure place and will use reasonable care to ensure

21           that it is not disclosed to third persons in violation of this agreement.

22      6. Defense Counsel shall be responsible for advising the defendants, employees, other members of

23           the defense team, and defense witnesses of the contents of this Stipulation and Order.

24      7. In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees to

25           withhold discovery from new counsel unless and until substituted counsel agrees also to be

26      //

27      //

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      STIPULATION AND [PROPOSED]                            2
      ORDER
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 1 bound by this Order or the Court modifies this Order regarding such transfer of discovery.

 2         IT IS SO STIPULATED.

 3 Dated: September 13, 2013                                BENJAMIN B. WAGNER
                                                            United States Attorney
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 5                                                          /s/ Megan A. S. Richards
                                                            MEGAN A. S. RICHARDS
 6                                                          Assistant United States Attorney

 7 Dated: September 13, 2013                                /s/ Eric Kersten (authorized 9/12/2013)
                                                            Counsel for Defendant
 8                                                          BRISA CELESTE CASTILLO

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                                                      ORDER
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     IT IS SO ORDERED.
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        Dated:                   September 16, 2013           /s/ Lawrence J. O’Neill
17                                                      UNITED STATES DISTRICT JUDGE
           DEAC_Signature-END:




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      STIPULATION AND [PROPOSED]                        3
      ORDER
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